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                                                         United States District Court
                                                         Central District of California
                                                                                                                         JS -3

 UNITED STATES OF AMERICA vs.                                                Docket No.             EDCR20-00218-JGB

 Defendant            CHRISTOPHER ANTHONY MIRABAL                            Social Security No. 7          3     1     3

 akas: Buddy; “Dreamer”                                                      (Last 4 digits)

                                  ***AMENDED JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.        Sept.    27   2021


 COUNSEL                                                                   Luisa Tamez,DFPD
                                                                             (Name of Counsel)

     PLEA             x GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                      ***Prohibited Person in Possession of Firearm and Ammunition 18 U.S.C. § 922(g)(1), 9

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/ sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant
  COMM
  ORDER
          guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is
                      the judgment of the Court that the defendant, Christopher Anthony Mirabal, is hereby committed
                      on Count One of the Indictment to the custody of the Bureau of Prisons for a term of 30 months.


      It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
      immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than
      $25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program.

      Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
      he is unable to pay and is not likely to become able to pay any fine.

      The Court has found that the property identified in the preliminary order of forfeiture is subject to forfeiture.
      The preliminary order is incorporated by reference into this judgment and is final.

      Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years
      under the following terms and conditions:

                1.         The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                           Services Office and Second Amended General Order 20-04.

                2.         The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
                           submit to one drug test within 15 days of release from custody and at least two periodic drug tests
                           thereafter, not to exceed eight tests per month, as directed by the Probation Officer.


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                3.    The defendant shall participate in an outpatient substance abuse treatment and counseling program
                      that includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The
                      defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
                      medications during the period of supervision.

                4.    During the period of community supervision, the defendant shall pay the special assessment in
                      accordance with this judgment’s orders pertaining to such payment.

                5.    The defendant shall cooperate in the collection of a DNA sample from the defendant.

                6.    The defendant shall submit the defendant’s person, property, house, residence, vehicle, papers,
                      mobile telephone, or other areas under the defendant’s control, to a search conducted by a United
                      States Probation Officer or law enforcement officer. Failure to submit to a search may be grounds
                      for revocation. The defendant shall warn any other occupants that the premises may be subject to
                      searches pursuant to this condition. Any search pursuant to this condition will be conducted at a
                      reasonable time and in a reasonable manner upon reasonable suspicion that the defendant has
                      violated a condition of his supervision and that the areas to be searched contain evidence of this
                      violation.

                7.    The defendant shall not associate with anyone known to the defendant to be a member of the Mad
                      Crazy and/or South Side Riva (SSR) Gangs and others known to the defendant to be participants
                      in the Mad Crazy and/or SSR Gangs’ criminal activities, with the exception of the defendant’s
                      family members. The defendant may not wear, display, use or possess any gang insignias,
                      emblems, badges, buttons, caps, hats, jackets, shoes, or any other clothing that defendant knows
                      evidence affiliation with the Mad Crazy and/or SSR Gangs, and may not display any signs or
                      gestures that defendant knows evidence affiliation with the Mad Crazy and/or SSR Gangs.

                8.    As directed by the Probation Officer, the defendant shall not be present in any area known to the
                      defendant to be a location where members of the Mad Crazy and/or SSR Gangs meet or assemble.



         The Court recommends that defendat be placed at FCI Terminal Island.

         Defendant is informed of his right to appeal.

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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions
 of Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
 supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
 maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
 supervision period.




            November 2, 2021
            Date                                                  Jesus G. Bernal, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            November 2, 2021                                By
            Filed Date                                            Maynor Galez, Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                      STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                      While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal,              9.    The defendant must not knowingly associate with
       state, or local crime;                                            any persons engaged in criminal activity and must
 2.    The defendant must report to the probation office in              not knowingly associate with any person convicted
       the federal judicial district of residence within 72              of a felony unless granted permission to do so by
       hours of imposition of a sentence of probation or                 the probation officer. This condition will not apply
       release from imprisonment, unless otherwise                       to intimate family members, unless the court has
       directed by the probation officer;                                completed an individualized review and has
 3.    The defendant must report to the probation office as              determined that the restriction is necessary for
       instructed by the court or probation officer;                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the                  10.   The defendant must refrain from excessive use of
       judicial district without first receiving the                     alcohol and must not purchase, possess, use,
       permission of the court or probation officer;                     distribute, or administer any narcotic or other
 5.    The defendant must answer truthfully the inquiries                controlled substance, or any paraphernalia related
       of the probation officer, unless legitimately                     to such substances, except as prescribed by a
       asserting his or her Fifth Amendment right against                physician;
       self-incrimination as to new criminal conduct;              11.   The defendant must notify the probation officer
 6.    The defendant must reside at a location approved by               within 72 hours of being arrested or questioned by
       the probation officer and must notify the probation               a law enforcement officer;
       officer at least 10 days before any anticipated             12.   For felony cases, the defendant must not possess a
       change or within 72 hours of an unanticipated                     firearm, ammunition, destructive device, or any
       change in residence or persons living in defendant’s              other dangerous weapon;
       residence;                                                  13.   The defendant must not act or enter into any
 7.    The defendant must permit the probation officer to                agreement with a law enforcement agency to act as
       contact him or her at any time at home or elsewhere               an informant or source without the permission of
       and must permit confiscation of any contraband                    the court;
       prohibited by law or the terms of supervision and           14.   The defendant must follow the instructions of the
       observed in plain view by the probation officer;                  probation officer to implement the orders of the
 8.    The defendant must work at a lawful occupation                    court, afford adequate deterrence from criminal
       unless excused by the probation officer for                       conduct, protect the public from further crimes of
       schooling, training, or other acceptable reasons and              the defendant; and provide the defendant with
       must notify the probation officer at least ten days               needed educational or vocational training, medical
       before any change in employment or within 72                      care, or other correctional treatment in the most
       hours of an unanticipated change;                                 effective manner.




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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